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Case 1:21-cr-00023-TJK Document 30 Filed 11/10/21 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-23 (TJK)

v. : VIOLATIONS:
> =©18 U.S.C. § 231(a)(G3)
JOSHUA PRUITT, : (Civil Disorder)
> =©18 U.S.C. § 1512(c)(2)
Defendant. : (Obstruction of an Official Proceeding)
>: 18U.S.C.§2
(Aiding and Abetting)
18 U.S.C. § 1361
(Destruction of Government Property)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, JOSHUA PRUITT
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer engaged in the lawful performance of his/her official duties incident to and

during the commission of a civil disorder which in any way and degree obstructed, delayed, and
 

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Case 1:21-cr-00023-TJK Document 30 Filed 11/10/21 Page 2 of 4

adversely affected commerce and the movement of any article and commodity in commerce and
the conduct and performance of any federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, JOSHUA
PRUITT, attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C.
§§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, JOSHUA PRUITT, did
attempt to willfully injure and commit depredation against property of the United States, and of
any department and agency thereof, and any property which has been and is being manufactured
and constructed for the United States, and any department or agency thereof, that is a wooden sign,
causing damage in an amount less than $1,000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, JOSHUA PRUITT, did
unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, or otherwise restricted area within the United States Capitol and its grounds, where
 

 

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Case 1:21-cr-00023-TJK Document 30 Filed 11/10/21 Page 3 of 4

the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, JOSHUA PRUITT, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, or otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, JOSHUA PRUITT, did
knowingly, engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, or otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
 

 

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Case 1:21-cr-00023-TJK Document 30 Filed 11/10/21 Page 4 of 4

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, JOSHUA PRUITT, willfully
and knowingly engaged in disorderly and disruptive conduct in any of the Capito! Buildings with
the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either
House of Congress, and the orderly conduct in that building of a hearing before or any deliberation
of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, JOSHUA PRUITT, willfully
and knowingly engaged in an act of physical violence within the United States Capitol Grounds
and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:
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Mg Tian: Bowes
Attorney of the United States in
and for the District of Columbia.
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